
REASONS of the superior court for affirming the judgement of common pleas. The bill of exception states:—
*51That one Isaac Bennitt was offered as a witness to testify the confessions of Beardsley one of the defendants. The confession of a party is good evidence against himself and is ever admitted and cannot be produced but by parol.— as the company are not a corporate body and have no legal records which can be authenticated by the certificate of their clerk.
The second cause of error is, that the common court have not found the answer of Beardsley true or not true.—he alleges in his answer that he had no other agency in, or knowledge of the business transacted between said Bennitt and the other respondents than merely taking the notes from Bennitt and giving up the notes against Terrill at the request of Bennitt and Terrill for their accommodation.—but the court of common pleas have found that Beardsley was privy to, and acquainted with all and singular the facts complained of in the petitioners bill, and that he was aiding and assisting in the accomplishment of the fraud complained of and did receive the notes under cover to shield the iniquity and to prevent redrefs being obtained. These facts are tantamount to finding the answer of Beardsley untrue and do virtually negate his statement of facts. — Sturges and Mitchell. Reeve contra—
